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                               UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO


 CODY J. SCHUELER, an individual,
                                                     Case No. 2:22-CV-00389-DCN
                        Plaintiff,
                                                     DISCOVERY PLAN
         v.

 FOUR SQUAREBIZ, LLC, KEITH O.
 CREWS, MICAH EIGLER, and JOHN
 AND JANE DOES 1-10,

                        Defendants.


         This Discovery Plan is submitted by Plaintiff Cody J. Schueler, by and

through his counsel of record, with the consent and agreement of Defendant

Micah Eigler, acting pro se. Defendant Eigler has indicated his express position

that his marital community should not be involved in the current litigation.


 I.      Preservation

              a. Preservation & Proportionality: The parties have applied the

                 proportionality standard in Rule 26(b)(1) to determine what information

                 should be preserved and what information should not be preserved.

              b. Electronically Stored Information (ESI): With regard to ESI, the parties

                 agree that:




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                     i. Date Range: Only ESI created or received between January 1, 2020

                       and present will be preserved;

                    ii. Scope of Preservation: The parties agree to:

                           1. Preserve the Following Types of ESI

                                 a. Email, text messages, WhatsApp communications, and

                                     other correspondence;

                                 b. Agreements, contracts, and drafts thereof; and

                                 c. Other documents pertaining to the Bitcoin Loan

                                     Agreements, Personal Guarantees, and the parties’

                                     general business dealings, including Dstem Coin and

                                     other cryptocurrencies.

                           2. From the Following Custodians or Job Titles:

                                 a. The parties herein; and

                                 b. Applicable third-parties that Defendants are aware

                                     may have custody of the pertinent ESI.

                           3. From the Following Systems, Servers, or Databases

                                 a. Systems, Servers, or Databases for which the parties

                                     herein have the ability to access and/or control; and

                                 b. Systems, Servers, or Databases in the possession of

                                     third-parties for which Defendants are aware may

                                     contain pertinent ESI.



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                   iii. Preserved But Not Searched: These data sources are not

                       reasonably accessible because of undue burden or cost pursuant to

                       Rule 26(b)(2)(B) and ESI from these sources will be preserved but

                       not searched, reviewed, or produced:

                          1. None identified at this juncture.

                   iv. Not Preserved: Among the sources of data the parties agree are not

                       reasonably accessible pursuant to Rule 26(b)(2)(B), and shall not be

                       preserved, are the following:

                          1. None identified at this juncture.

                    v. ESI Retention Protocols: Going forward, the parties agree [to

                       modify/not to modify] the document and ESI retention/destruction

                       protocols of [party].

                          1. As indicated herein.

                   vi. Cost Sharing:

                              ☐[The parties agree to share the cost of an electronic

                              discovery vendor; shared document repository; or other cost

                              saving measures]

                              ☒[The parties agree to bear their own costs for preservation

                              of e-discovery]

II.      Initial Disclosures



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              a. [if already provided] Pursuant to Rule 26(a), initial disclosures were

                 provided on the following dates:

                      • Plaintiffs:      November 23, 2022.

                      • Defendants: TBD.

              b. [if not yet provided] The parties agree to modify the deadlines in Rule

                 26(a) to allow initial disclosures to be provided on the following dates:

                      • Plaintiffs:      _____________.

                      • Defendants: TBD.

              c. [change to form] The parties agree to modify the form of the Rule 26(a)

                 initial disclosures as follows: ________________________.

              d. [exempt] The parties agree that this proceeding is exempt under Rule

                 26(a)(1)(B) from the requirement to provide initial disclosures.

III.     Scope of Discovery

              a. Scope: Discovery is necessary on the following subjects/issues:

                      • For Plaintiff:

                           1. DStem Coin and other cryptocurrencies associated with

                               Defendants;

                           2. Corporate structure and validity of Four SquareBiz, LLC;

                           3. Circumstances and background surrounding Defendants entry

                               into the Bitcoin Loan Agreements and Personal Guarantees;




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                            4. Defendants knowledge, involvement, and association with

                               “Trust Funds Capital” and/or “TrustFunds Private Bank”;

                            5. Defendants’ intent and purpose behind the business

                               transactions at issue herein;

                            6. Facts included in the Complaint; and

                            7. Facts associated with Plaintiff’s Causes of Action and Claims.

                      • For Defense:

                            8. To Be Determined;

                            9. ________________;

                            10. ________________;

                            11. ________________;

                            12. ________________.

IV. Discovery Boundaries

              a. Limits: The parties agree to limit the number of discovery tools as

                 follows:

                        ☒Depositions:                N/A.

                        ☒Interrogatories:            25 propounded to each litigant.

                      ☒Requests for Production: 25 propounded to each litigant.

V. ESI



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              a. Checklist: The Court has attached the “Checklist” for ESI Discovery

                 prepared by the Federal District Court for the Northern District of

                 California to assist counsel in their meet-and-confer session. Counsel

                 should refer also to Dist. Idaho L. Rule 16.1(b).

              b. Proportionality: Although not a hard and fast rule, a party from whom ESI

                 has been requested in the typical case will not be expected to search for

                 responsive ESI:

                      • from more than 15 key custodians;

                      • that was created more than 5 years before the filing of the lawsuit;

                      • from sources that are not reasonably accessible without undue

                        burden or cost; or

                      • for more than 160 hours, inclusive of time spent identifying

                        potentially responsive ESI, collecting that ESI, searching that ESI,

                        and reviewing that ESI for responsiveness, confidentiality, and for

                        privilege or work product protection. The producing party must be

                        able to demonstrate that the search was effectively designed and

                        efficiently conducted.

              c. ESI File Format: The parties agree to produce documents in the following

                 file format[s] [check any that apply]:

                        ☒PDF;

                        ☐TIFF;


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                       ☒Native; and/or

                       ☐Paper.

              d. ESI Production Format: The parties agree that documents will be

                 produced [check any that apply]:

                       ☒with logical document breaks;

                       ☒as searchable;

                       ☐with load fields enabling review in common litigation databases

                       such as Summation and Concordance;

                       ☐with metadata, and, if so, in the following fields: __________.

              e. ESI Search Methodology: The parties have agreed to use the following

                 search methodology:

                       ☐Predictive coding (or technology assisted review);

                       ☒ Keyword search;

                       ☐Other: _________________.

              f. Search Methodology – Transparency: The parties agree that they will

                 share their search methodology for responding to requests for production of

                 ESI to the following extent: Disclosure of search terms.

              g. General ESI Production vs. E-mail Production: The parties agree that

                 general ESI production requests under Federal Rules of Civil Procedure 34

                 and 45, or compliance with a mandatory disclosure order of this court, shall

                 not include e-mail or other forms of electronic correspondence (collectively
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                 “e-mail”). To obtain e-mail parties must propound specific e-mail

                 production requests.

              h. E-mail Custodian List Exchange: On or before January 1, 2023, the

                 parties agree to exchange lists identifying (1) likely e-mail custodians, and

                 (2) a specific identification of the [15] most significant listed e-mail

                 custodians in view of the pleaded claims and defenses.

              i. Discovery Re E-mail Custodians, Search Terms & Time Frames: Each

                 requesting party may propound up to [5] written discovery requests and

                 take [one] deposition per producing party to identify the proper custodians,

                 proper search terms, and proper time frame for e-mail production requests.

                 The court may allow additional discovery upon a showing of good cause.

              j. Form of E-mail Production Requests: E-mail production requests shall

                 identify the custodian, search terms, and time frame. The parties shall

                 cooperate to identify the proper custodians, proper search terms, and proper

                 time frame.

              k. Limits on E-mail Production Requests – Custodians: Each requesting

                 party shall limit its e-mail production requests to a total of [8] custodians

                 per producing party for all such requests. The parties may jointly agree to

                 modify this limit without the court’s leave.

              l. Limits on E-mail Production Requests – Keyword Search Terms: Each

                 requesting party shall limit its e-mail production requests to a total of [10]

                 keyword search terms per custodian per party. The parties may jointly agree
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                  to modify this limit without the court’s leave. The keyword search terms

                  shall be narrowly tailored to particular issues. Indiscriminate terms, such as

                  the producing company’s name or its product name, are inappropriate

                  unless combined with narrowing search criteria that sufficiently reduce the

                  risk of overproduction.

               m. Liaison: Each party [has identified/will identify] a Liaison who is

                  responsible for, and knowledgeable about (or has access to a person

                  knowledgeable about), that party’s ESI. This includes the technical aspects

                  of e-discovery, including the location, nature, accessibility, format,

                  collection, search methodologies, and production of ESI in this matter. The

                  parties will rely on the Liaisons, as needed, to confer about ESI and to help

                  resolve disputes without court intervention.

VI. Deadlines

               a. The deadline for the completion of fact discovery is: June 16, 2023.

               b. The deadline for completion of expert witness discovery is: June 16, 2023.

VII. Phased or Issue-Specific Discovery

               a. [Phased Discovery] The parties agree to conduct discovery in phases,

                  focusing in the first phase on key information that is easily accessible. The

                  parties will then use that the results of that initial phase of discovery to

                  guide further discovery.



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                   § First Phase of Discovery: During the first phase, the parties will

                       conduct discovery on the following subject[s]: As indicated herein.

                   § Scope of First Phase: During the first phase of discovery, the

                       parties shall take the following discovery:

                          • Depositions:       Parties herein.

                          • Interrogatories: As indicated herein.

                          • Requests for Production: As indicated herein.

                   § Deadline for Completion of First Phase: The parties shall

                       complete the first phase of discovery on or before April 14, 2023.

                   § Further Discovery: Following completion of the first phase of

                       discovery, the parties will meet together to determine what

                       discovery, if any, is needed in the next phase.

             b. [Issue-Specific Discovery] The parties agree that discovery should be

                focused first on [jurisdiction] [venue] [qualified immunity] [affirmative

                defenses that may be dispositive] [information necessary to engage in

                meaningful settlement discussions] [etc.].—Not Applicable.

                     • Deadline for Completion of Issue-Specific Discovery: The

                       discovery on the issue of [jurisdiction] [venue] ][qualified

                       immunity][affirmative defenses that may be dispositive][information

                       necessary to engage in meaningful settlement discussions] [etc.] will

                       be completed on or before ________, at which time the parties will

                       meet to determine what needs to be done next.
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VIII. Documents Protected From Discovery

               a. Clawback: Pursuant to Fed. R. Evid. 502(d), the parties must request the

                  Court to enter an Order that production of a privileged or work-product-

                  protected document, whether inadvertent or otherwise, is not a waiver of

                  privilege or work-product protection in this case or in any other federal or

                  state proceeding. The Court will enter such an order in its CMO unless the

                  parties object or otherwise request that no such order be issued during the

                  telephone scheduling conference.

               b. Quick Peek: The parties

                         ☒[agree that a “quick peek” process pursuant to Fed.R.Civ.P.

                         26(b)(5) is not necessary in this case]

                         ☐[agree to a “quick peek” process pursuant to Fed.R.Civ.P.

                         26(b)(5) as set forth herein: ________________________].

               c. Post-Complaint Communications: Communications involving trial

                  counsel that post-date the filing of the complaint need not be placed on a

                  privilege log. Communications may be identified on a privilege log by

                  category, rather than individually, if appropriate.

 IX. Protective Order




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             a. The parties have agreed to the terms of a Protective Order to protect [trade

                secrets, proprietary material, personal information, etc] and will submit

                that to the Court for its approval.

             b. The parties understand that, even if they agree to seal material filed with the

                Court, they must still file a motion to seal and obtain Court approval that

                the sealing meets the Ninth Circuit standards for sealing. See Kamakana v.

                City and County of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006).




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